    Case 1:01-cv-12257-PBS Document 6528-93 Filed 09/22/09 Page 1 of 9




                               Exhibit 92



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
.
    Case 1:01-cv-12257-PBS Document 6528-93 Filed 09/22/09 Page 2 of 9
.
    Case 1:01-cv-12257-PBS Document 6528-93 Filed 09/22/09 Page 3 of 9
.
    Case 1:01-cv-12257-PBS Document 6528-93 Filed 09/22/09 Page 4 of 9
.
    Case 1:01-cv-12257-PBS Document 6528-93 Filed 09/22/09 Page 5 of 9
.
    Case 1:01-cv-12257-PBS Document 6528-93 Filed 09/22/09 Page 6 of 9
.
    Case 1:01-cv-12257-PBS Document 6528-93 Filed 09/22/09 Page 7 of 9
.
    Case 1:01-cv-12257-PBS Document 6528-93 Filed 09/22/09 Page 8 of 9
.
    Case 1:01-cv-12257-PBS Document 6528-93 Filed 09/22/09 Page 9 of 9
